           Case 2:18-cv-11477-SDW-CLW Document 22 Filed 06/19/19 Page 1 of 1 PageID: 330




                                                  INVESTOR COUNSEL

                                                                                              Laurence Rosen, Esq.
                                                                                            lrosen@rosenlegal.com

             June 19, 2019

             VIA ECF
             The Honorable Susan D. Wigenton
             United States District Judge
             Martin Luther King Building & U.S. Courthouse
             50 Walnut Street
             Newark, NJ 07101

             Re:     Church VI v. Glencore PLC, et al., No. 2:18-cv-11477-SDW-CLW

             Dear Judge Wigenton:

             My firm initiated the above-referenced action (Dkt. No. 1) and filed a motion for appointment of
             Daniel Lowman to be lead plaintiff and approval of my firm to be lead counsel. (Dkt. No. 9). We
             write in response to the Notice Of Call For Dismissal Pursuant to Fed. R. Civ. P. 4(m) entered on
             June 11, 2019. (Dkt. No. 21).

             Mr. Lowman withdrew his motion, recognizing that he did not have the largest financial interest,
             and on December 13, 2018 the Court appointed Randall Seymour as Lead Plaintiff and Levi &
             Korsinsky, LLP as Lead Counsel pursuant to the Private Securities Litigation Reform Act of
             1995 (“PSLRA”) (Dkt. Nos. 17, 18). As Lead Plaintiff and Lead Counsel under the PSLRA, it is
             their obligation to advance the case. See, In re Milestone Sci. Sec. Litig., 187 F.R.D. 165, 176
             (D.N.J. 1999) (“the lead plaintiff has significant responsibilities and duties, including the
             management of the direction of the case”); In re Zynga Inc. Sec. Litig., No. C 12-04007 JSW,
             2013 WL 257161, at *3 (N.D. Cal. Jan. 23, 2013) (lead counsel “shall manage the prosecution of
             this litigation”).

             If Mr. Seymour and his counsel are unable or unwilling to proceed, Mr. Lowman and my firm
             stand ready and willing to pursue this litigation if needed.

             If the Court has any additional questions, Counsel is prepared to address them.
                                                             Respectfully submitted,

                                                             THE ROSEN LAW FIRM, P.A.

                                                             /s/ Laurence M. Rosen
                                                             Laurence M. Rosen
                                                             Counsel for Plaintiff Daniel Lowman


                                                                1
THE ROSEN LAW FIRM, P.A. ◆ 609 W. SOUTH ORANGE AVENUE, SUITE 2P ◆ SOUTH ORANGE, NJ 07079 ◆ TEL: (973) 313-1887 ◆ FAX: (973) 833-0399
